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                EXHIBIT A
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                 CONFIDENTIAL




         Transcript of Gene Steinberg
                    Monday, May 9, 2022

      National Coalition on Black Civic Participation, et al.
                       v. Jacob Wohl, et al.




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  1    IN THE UNITED STATES DISTRICT COURT
  2    FOR THE SOUTHERN DISTRICT OF NEW YORK
  3    ----------------------------------------------------
  4    NATIONAL COALITION ON BLACK CIVIC PARTICIPATION,
       MARY WINTER, GENE STEINBERG, NANCY HART, SARAH
  5    WOLFF, KAREN SLAVEN, KATE KENNEDY, EDA DANIEL and
       ANDREA SFERES,
  6

  7                                 Plaintiffs,                Civil Action No.
  8                                                         1:20-cv-08668-VM-OTW
                                         -and-
  9

 10    People of the STATE OF NEW YORK, by its Attorney
       General, LETITIA JAMES, ATTORNEY GENERAL OF THE
 11    STATE OF NEW YORK
 12                                 -vs-
 13    JACOB WOHL, JACK BURKMAN, J.M. BURKMAN & ASSOCIATES,
       LLC, PROJECT 1599, MESSAGE COMMUNICATIONS, INC.,
 14    ROBERT MAHANIAN and JOHN and JANE DOES 1-10
 15                                 Defendants.
 16    ----------------------------------------------------
 17

 18            Deposition of GENE STEINBERG, Plaintiff,
 19    herein, taken by Defendant, pursuant to Notice via
 20    Zoom, on Monday, May 9, 2022, at 10:00 a.m., before
 21    Deirdre Smith, a stenographer and notary public
 22    within and for the State of New York.
 23

 24

 25

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  1    A P P E A R A N C E S
  2

  3    ORRICK HERRINGTON & SUTCLIFFE, LLP
  4    51 West 52nd Street
  5    New York, NY 10019-6142
  6    Appearing on behalf of the Plaintiff
  7    Phone: (617) 880-1800
  8    Email:     brittany.roehrs@orrick.com
  9               franklin.monsour@orrick.com
 10    BY:        BRITTANY ROEHRS, ESQ.
 11               FRANKLIN MONSOUR, ESQ.
 12

 13

 14

 15    GERSTMAN SCHWARTZ LLP
 16    Appearing on behalf of the Defendant
 17    60 E. 42nd Street, Suite 4700 Office 21
 18    New York, NY 10165
 19    Phone:     (212) 227-7070
 20    Email:       rkleinman@gerstmanschwartz.com
 21    BY:          RANDY KLEINMAN, ESQ.
 22

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 24

 25

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  1    A P P E A R A N C E S (continued)
  2

  3    LAWYERS COMMITTEE FOR CIVIL RIGHTS UNDER LAW
  4    Appearing on behalf of Plaintiff
  5    1500 K Street NW
  6    Suite 900
  7    Washington, DC 20005
  8    BY:        MARC EPSTEIN, ESQ.
  9

 10

 11

 12    STATE OF NEW YORK OFFICE OF THE ATTORNEY GENERAL
 13    Appearing on behalf of Plaintiff
 14    28 Liberty Street
 15    Floor 18, New York, NY 10005-1495
 16    Phone: (212) 416-6046
 17    BY:       COLLEEN FERITY, ESQ.
 18

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  1                  MS. ROEHRS:         Objection.
  2           A.     No.
  3           Q.     What involvement, if any, do you have with
  4    the Democrat party?
  5                  MS. ROEHRS:         Objection.
  6           A.     What do you mean by involvement?
  7           Q.     Are you involved in any local Democrat
  8    party politics, anything like that?
  9           A.     No.
 10           Q.     When you were last registered to vote,
 11    were you registered as a Democrat, Republican or
 12    something different?
 13                  MS. ROEHRS:         Objection.
 14           A.     As a Democrat.
 15           Q.     Who did you vote for in the November 2020
 16    presidential election for the office of president?
 17                  MS. ROEHRS:         Objection.
 18                  THE WITNESS:         Do I have to answer?
 19                  MS. ROEHRS:         Yes.
 20           A.     Biden/Harris.
 21           Q.     Is it fair to say that you were happy with
 22    the result of the 2020 presidential election?
 23           A.     No.
 24           Q.     Why not?
 25           A.     I thought it was too close.                I wish it

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